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      Exhibit C
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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS                                                       I   I
                                    AUSTIN DIVISION

                                                   I
                                                        Civil Action No.: 1:17-cv-01159-LY
 USB BRIDGE SOLUTIONS, LLC,
                                                                Jury Trial Demanded
         Plaintiff,

 v.

 AVANT TECHNOLOGY, INC. dlbla
 EDGE MEMORY,

         Defendant.


                        AGREED POST-MARKMAN SCHEDULING ORDER

        On June 11, 2020, the Court conducted a Post-Mar/cman conference in the above entitled

and numbered case. All parties appeared telephonically through counsel. As a result of such

hearing, and pursuant to Rule 16, Federal Rules of Civil Procedure, the Court lifted the stay

imposed on merits discovery by Order dated April 6, 2018 (Dkt. 23) and permitted discovery on

all issues and ORDERS that the following schedule will govern deadlines up to and including the

trial of this matter:




 The parties shall serve their initial disclosures required by Federal       July 2, 2020
 Rule of Civil Procedure 26(a)(1)(A)


 Amended Disclosures of Asserted Claims and Infringement                      uiy
                                                                               1  24 2020
 Contentions (post-Markman) shall be served.
        Case
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Amended Invalidity Contentions     (post-Markman)   shall be served.         August 31, 2020



All motions to amend pleadings shall be filed on or before this date         September 18, 2020

The parties shall complete fact discovery. Fact discovery must be
completed by this date. Any fact discovery requests must be
                                                                             March 26 2021
propounded so that the responses are due by this date.

The parties shall serve on all other parties their designations of experts
on issues for which they bear the burden of proof, and the written
reports required by Federal Rule of Civil Procedure 26(a)(2)(B) for          April 16, 2021
such opening experts

The parties shall serve on all other parties their designations of
rebuttal experts, and the written reports required by Federal Rule of
                                                                             Ma 14 2021
Civil Procedure 26(a)(2)(B) for such rebuttal experts



The parties shall complete expert discovery                                  June 23, 2021

All Daubert and dispositive motions shall be filed and served on all
other parties by this date. The Court does not have a limit on the
number of motions for summary judgment (MSJs); however, absent
leave of Court, the cumulative page limit for Opening Briefs for all
MSJs is 40 pages per party. Responses shall be filed and served on all
                                                                             Jul 30 2021
other parties no later than 14 days after the service of the motion and
shall be limited to 20 pages. Any replies shall be filed and served on
all other parties no later than 14 days after the service of the response
and shall be limited to 10 pages.


By this date the parties shall exchange exhibit lists, designations of
                                                                             September 24, 2021
and objections to deposition testimony, and demonstratives.


By this date the parties shall exchange a proposed jury charge and
questions for the jury. By this date the parties will also exchange draft    October   1, 2021
Motions in Limine to determine which may be agreed.
        Case
         Case1:22-cv-00037-LY
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 By this date the parties shall exchange any objections to the proposed
jury charge, with supporting explanation and citation of controlling
 law. By this date the parties shall also submit to the Court their         October 8, 2021
 Motions in Limine.

By this date the parties will submit to the court their Joint Pre-Trial
Order, including the identification of issues to be tried, identification
of witnesses, trial schedule provisions, and all other pertinent
information. By this date the parties will also submit to the Court their
                                                                            October 29, 2021
oppositions to Motions in Limine. The parties shall provide to the
Court an agreed jury charge with supported objections of each party
and proposed questions for the jury.



Final pretrial conference at 9:30 AM                                        November 5, 2021



Jury selection and trial commences at 9:00 AM                               February 7, 2022



Dated: June   /',   2020




                                             Unit d States District Judge
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AGREED TO:



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                                  CERTIFICATE OF SERVICE

       I   hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served with a copy of this document via the Court's CM/ECF system on this 12th

day of June, 2020.


                                                      Is!D. Scott Heminzway
                                                      D. Scott Hemingway
